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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION


 UNITED STATES OF AMERICA,                 §
                                           §
              Plaintiff,                   §
                                           §
 v.                                        §         Case No. 1:18-cr-10015-STA
                                           §
 CYNTHIA STAMPS,                           §
                                           §
              Defendant.                   §


      ORDER GRANTING UNOPPOSED MOTION TO CONTINUE SENTENCING
                  HEARING AND NOTICE OF RESETTING


       Before this Court is the Defendant Cynthia Stamps’s Unopposed Motion to Continue

 Sentencing Hearing currently set in this matter on December 7, 2018 at 11:00 a.m. For good

 cause shown, the Motion is GRANTED.

       Accordingly, the Sentencing hearing is reset to January 18, 2019 at 11:00am.

       IT IS SO ORDERED this 30th day of November, 2018.



                                                     s/S. Thomas Anderson
                                                     CHIEFJUDGE S. THOMAS ANDERSON
                                                     UNITED STATES DISTRICT COURT




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